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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

_________________________________________
                                          )
In re:                                    )                            Chapter 11
                                          )
SOUTHERN FOODS GROUPS, LLC, et al.,       )                            Case No. 19-36313 (DRJ)
                                          )
            Debtors. 1                    )                            Jointly Administered
                                          )
_________________________________________ )

                             NOTICE OF BIDS
                      [Relates to Dkt Nos. 925 & 1178]
________________________________________________________________________


       PLEASE TAKE NOTICE that, on March 19, 2020, the United States
Bankruptcy Court for the Southern District of Texas entered the Order (I) Approving
Bidding Procedures for Sale of Debtors’ Assets, (II) Scheduling Hearing to Approve Sale
of Debtors’ Assets, (III) Approving Form and Manner of Notices of Sale and Sale
Hearing, (IV) Approving Assumption and Assignment Procedures, and (V) Granting
Related Relief [D.I. 1178] (the “Bidding Procedures Order”) 2.



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     The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
   respective Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean
   Foods Company (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965);
   Cascade Equity Realty, LLC (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings,
   LLC (9144); Dairy Information Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II,
   LLC (9192); Dean East, LLC (8751); Dean Foods North Central, LLC (7858); Dean Foods of
   Wisconsin, LLC (2504); Dean Holding Company (8390); Dean Intellectual Property Services II, Inc.
   (3512); Dean International Holding Company (9785); Dean Management, LLC (7782); Dean Puerto
   Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean Transportation, Inc. (8896); Dean West
   II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC (1600); DFC Energy Partners,
   LLC (3889); DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167);
   Franklin Holdings, Inc. (8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp.
   (7609); Friendly’s Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221); Mayfield
   Dairy Farms, LLC (3008); Midwest Ice Cream Company, LLC (0130); Model Dairy, LLC (7981);
   Reiter Dairy, LLC (3675); Sampson Ventures, LLC (7714); Shenandoah’s Pride, LLC (2858); Steve’s
   Ice Cream, LLC (6807); Suiza Dairy Group, LLC (2039); Tuscan/Lehigh Dairies, Inc. (6774); Uncle
   Matt’s Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan, LLC (7200). The debtors’
   mailing address is 2711 North Haskell Avenue, Suite 3400, Dallas, TX 75204.
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    Capitalized terms used herein but not otherwise defined shall have the meaning ascribed to them in the
   Bidding Procedures Order.
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       PLEASE TAKE FURTHER NOTICE that, as required in the Bidding
Procedures Order, the Debtors hereby file copies of the following bids that the Debtors
received pursuant to the Bidding Procedures Order:

     No.               Bidder                                      Bid Asset(s)
1.          320 Broadway Partners                All of Sellers’ interests and rights in and to
                                                 all leases concerning certain parcels of real
                                                 estate located at 112 15th Avenue N, 1401
                                                 Church Street, 132 15th Avenue N, 15th
                                                 Avenue N, all located in Nashville,
                                                 Tennessee
2.          BSC Ventures, LLC                    Real property located in the State of Hawaii
                                                 owned in fee simple by the Debtors located
                                                 at:
                                                 925 Cedar Street, Honolulu, Hawaii
                                                 1302 Elm Street, Honolulu, Hawaii
                                                 824 Sheridan Street, Honolulu, Hawaii
                                                 55 S. Wakea avenue, Kahului, Hawaii
                                                 1841 Leleiona Street, Lihue, Hawaii
                                                 A statewide truck fleet consisting of 102
                                                 trucks
3.          California Dairies Inc.              Substantially all of the assets, owned or
                                                 leased, and used in connection with (i) the
                                                 two dairy processing plants located in City of
                                                 Industry, California and (ii) the distribution
                                                 depots located in San Diego, California,
                                                 Anaheim, California, Oxnard, California, and
                                                 North Palm Springs, California
4.          Commercial Development               Model Dairy, LLC assets in Reno, N.V.
            Company
5.          Country Delight                      All assets associated with the following
                                                 facilities:
                                                 Chemung – Dean Foods, 6303 Maxon road,
                                                 Harvard, Illinois 60033
                                                 Rockford – Dean Foods, 1126 Kilburn
                                                 Avenue, Rockford, Illinois 61101
                                                 De Pere – Dean Foods of WI, 3399 South
                                                 Ridge Road, Ashwaubenon, Wisconsin
                                                 54115
6.          Cream-O-Land Dairies, LLC            McArthur facility and all associated assets,
                                                 Fort Myers Facility and all associated assets,
                                                 and the West Palm Beach Leasehold interest
7.          Dairy Farmers of America, Inc.       Assets, rights, interests, and properties
                                                 relating to facilities in:
                                                 Athens, Tennessee
                                                 Albuquerque, New Mexico


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                                         Belvidere, Illinois
                                         Billings, Montana
                                         Birmingham, Alabama
                                         Boise, Idaho
                                         Burlington, New Jersey
                                         City of Industry (North), California
                                         City of Industry (South), California
                                         Dallas, Texas
                                         Decatur, Indiana
                                         De Pere, Wisconsin
                                         El Paso, Texas
                                         Englewood, Colorado
                                         Franklin, Massachusetts
                                         Grand Rapids, Michigan
                                         Great Falls, Montana
                                         Greely, Colorado
                                         Harvard, Illinois
                                         High Point, North Carolina
                                         Houston, Texas
                                         Huntington, Indiana
                                         Lansdale, Pennsylvania
                                         Las Vegas, Nevada
                                         Lebanon, Pennsylvania
                                         Le Mars, Iowa
                                         Lubbock, Texas
                                         Marquette, Michigan
                                         Nashville, Tennessee (two plants)
                                         Orlando and Orange City, Florida
                                         Rensselaer, New York
                                         Rockford, Illinois
                                         Salt Lake City, Utah
                                         San Antonio, Texas
                                         Schuykill, Pennsylvania
                                         Sharpsville, Pennsylvania
                                         St. George, Utah
                                         Spartanburg, South Carolina
                                         Springfield, Ohio
                                         Toledo, Ohio
                                         Wilbraham, Massachusetts
                                         Winston-Salem, North Carolina
                                         For the avoidance of doubt, the Dairy
                                         Farmers of America, Inc. bid excludes those
                                         assets related to the Good Karma, Franklin
                                         Plastics, Uncle Matt’s Organic, and the
                                         Digester JV Business
8.          Darigold, Inc.               One, two, or all three of the assets of the


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                                                Debtors located in Billings, Montana, Boise,
                                                Idaho, and/or Salt Lake City, Utah
9.           F&J Developers, LLC                Properties located in Orlando, Florida
10.          Golden West Dairy, LLC             All plants, offices, and manufacturing,
                                                processing, distribution, storage,
                                                warehousing and other facilities of Debtors at
                                                the following facilities:
                                                Lubbock – Gandy’s, 201 University Avenue,
                                                Lubbock, Texas 79415
                                                El Paso – Price’s Creameries, 600 North
                                                Piedras Street, El Paso, Texas 79903
                                                Albuquerque – Creamland Dairy, 1911 2nd
                                                Street Northwest, Albuquerque, New Mexico
                                                87102
11.          GRM Acquisition Corp.              McArthur facility and associated assets
12.          Harmoni, Inc.                      All assets, rights, and properties in
                                                connection with or relating to the business of
                                                manufacturing, marketing, distribution, and
                                                selling of “Uncle Matt’s Organic” – branded
                                                juice products and popsicles.
13.          Hines Interests Limited            Real estate of Berkeley Farms located in
             Partnership and Oaktree Capital    Hayward, California
             Management, L.P.
14.          Hollandia Dairy, Inc.              Certain of the assets and real property of the
                                                Debtors’ facility located at Alta Dena Dairy,
                                                17851 Railroad Street, City of Industry, CA
                                                91748
15.          IC Frozen Holdings, LLC (Peak      Certain of the Debtors’ facilities located in
             Rock)                              Birmingham, Alabama, Belvidere, Illinois,
                                                and Decatur, Indiana
16.          Industrial Realty Group, LLC       Certain of Debtors’ real estate properties in
                                                California, Hawaii, Florida, Nevada,
                                                Minnesota, Mississippi, Kentucky, South
                                                Dakota, North Dakota, Ohio, West Virginia,
                                                Kansas, Oklahoma, Michigan, Louisiana, and
                                                Illinois
17.          LBA, Inc.                          Real estate of Berkeley Farms located at
                                                25450 Clawiter Road, Hayward, CA
18.          Leder Holdings, LLC                Real estate located in Miami, Florida, at:
                                                6851 NE 2nd Avenue
                                                249 NE 69th Street
                                                6999 NE 2nd Avenue
                                                250 NE 72nd Street
                                                240 NE 71st Street
                                                295 NE 70th Street
19.          LiquiDairy, LLC                    All assets associated with the Debtors’

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                                                facilities in Marietta, Ohio, O’Fallon, Illinois,
                                                Woodbury, Minnesota, Bismarck, North
                                                Dakota, Sioux Falls, South Dakota, Tulsa,
                                                Oklahoma, Birmingham, Alabama,
                                                Hammond, Louisiana, Miami, Florida, Reno,
                                                Nevada, Hayward, California
20.          Mana Saves McArthur, LLC           McArthur dairy processing plant and
                                                distribution centers
21.          Maryland and Virginia Milk         Milk Processing plant and all related real
             Producers Cooperative              estate and other assets located at High Point,
             Association, Inc.                  NC with an address of 1350 West Fairfield,
                                                High Point, NC 27263
                                                Current Lease(s) for the branch facility
                                                located at Chesapeake, VA with an address
                                                of 916 Cavalier Boulevard, Chesapeake, VA
                                                23223
22.          Morris Hill, LLC                   Land located at 1301 W Bannock Boise, ID
                                                83702
23.          OP Church Street Property, LLC     Several parcels of land located in Nashville,
                                                Tennessee, including:
                                                1401 Church Street, Nashville, Tennessee
                                                225 14th Avenue North, Nashville, Tennessee
                                                221 14th Avenue North, Nashville, Tennessee
                                                219 14th Avenue North, Nashville, Tennessee
                                                132 15th Avenue North, Nashville, Tennessee
                                                112 15th Avenue North, Nashville, Tennessee
24.          Palatine Cheese of New York,       All assets of the Debtors’ facility located at
             LLC                                504 3rd Avenue Ext, Rensselaer, New York
25.          Plains Dairy, L.L.C.               Certain assets used in the dairy processing,
                                                packaging, and distribution business
                                                associated with the “Gandy’s” brand located
                                                around Lubbock, Texas, and associated with
                                                the “Creamland” brand located around
                                                Albuquerque, Mexico
26.          Prairie Farms Dairy, Inc.          All assets, rights, interests, and properties
                                                relating to the following facilities:
                                                Birmingham, Alabama, Tulsa, Oklahoma,
                                                Sioux Falls, South Dakota, Bismark, North
                                                Dakota, Woodbury, Minnesota, Marietta,
                                                Ohio, O’Fallon, Illinois, Hammond,
                                                Louisiana, Akron, Ohio, and Livonia,
                                                Michigan.
                                                Customer list related to the facility located at
                                                Louisville, Kentucky
27.          Producers Dairy Foods              Trademark for the Berkeley Farms business
                                                Facilities located in Reno and Las Vegas,


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                                            Nevada
28.          Riverstone Capital Group       Real Estate properties located in Miami,
                                            Florida at:
                                            250 NE 72 Street
                                            240 NE 71 Street
                                            295 NE 70 Street
                                            6999 NE 2nd Avenue
                                            249 NE 69 Street
                                            6851 NE 2nd Avenue
29.          T2 Operating Co. Inc.          Parcel of land located at 25450-25500
                                            Clawiter Road, Hayward, California 94545
30.          Tarlton Properties, Inc.       The real estate located at 25450-25500
                                            Clawiter Road, Hayward, CA 94545
31.          Turner Dairy Farms, Inc.       Debtors’ facilities in Sharpsville,
                                            Pennsylvania, including the remnants of the
                                            Debtors’ former Erie, Pennsylvania
                                            operations
32.          Twenty Lake Management, LLC    All real estate assets located at:
                                            1302 Elm Street, Honolulu, Hawaii
                                            55 S Wakea Avenue, Kahului, Hawaii
                                            1841 Leleiona Street, Lihue, Hawaii
                                            25599 Clawiter Road, Hayward, California
                                            6851 NE 2nd Avenue, Miami, Florida
                                            619 E State Street, Ofallon, Illinois
                                            126 Barber CT, Homewood, Alabama
                                            2407 1st Avenue South, Irondale, Alabama
                                            7960 Schillinger Park Road, Mobile,
                                            Alabama
                                            65 Choctaw, Havana, Florida
                                            1930 Wooddale Drive, Woodbury,
                                            Minnesota
                                            1207 E Main Avenue, Bismark, North
                                            Dakota
                                            506 1st Street West, Williston, North Dakota
                                            2103 5th Avenue N, Moorhead, Minnesota
                                            500 Gould Street, Reno, Nevada
                                            47081 Conrad E. Anderson, Hammond,
                                            Louisiana
                                            11100 Three Rivers Road, Gulfport,
                                            Mississippi
                                            1701 Green Street, Marietta, Ohio
                                            1931 Washington Street, Charleston, West
                                            Virginia
                                            Route 2, Box 354, Clarksburg, West Virginia
                                            1415 W Waterloo Road, Akron, Ohio
                                            215 W Mathew Brady St N, Tulso,


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                                                 Oklahoma
                                                 216 N Handley Drive, Wichita, Kansas
                                                 316 N Western Avenue, Oklahoma City,
                                                 Oklahoma
                                                 1200 Russell St, Sioux Falls, South Dakota
33.          Spieker Keech Cabot a California    Parcel of land located 25450 Cabot Road,
             LLC                                 Hayward, CA
34.          United Dairy, Inc.                  The following owned real property and
                                                 related owned facilities of the Debtors: the
                                                 entire Marietta plant generally located at
                                                 1701 Greene Street, Marietta, OH 45750; the
                                                 entire distribution depot and related facilities
                                                 generally located at 1931 Washington Street,
                                                 Charleston, WV 25312; the entire
                                                 distribution depot and related facilities
                                                 generally located at Route 2, Nox 354,
                                                 Clarksbury, WV 26301.
35.          Upstate Niagara Cooperative, Inc.   The parcel of land located at 504 3rd Avenue,
                                                 Renssaelaer, New York, 12144 and the land
                                                 located in Sharpsville, Pennsylvania

        PLEASE TAKE FURTHER NOTICE that copies of the Bidding Procedures
Order, this Notice of Bids, and any other related documents filed with the Court are
available free of charge on the Debtors’ case information website, located at
https://dm.epiq11.com/SouthernFoods or can be requested by email at
DeanInfo@epiqglobal.com.




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Dated:   March 30, 2020
         Houston, Texas
                                 Respectfully submitted,
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